          Case 1:18-vv-01097-UNJ Document 33 Filed 10/11/19 Page 1 of 8




                In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1097V
                                      (Not to be published)

*****************************
                                                    *
RICHARD LEANDRO,                                    *
                                                    *
                        Petitioner,                 *        Filed: August 22, 2019
                                                    *
                v.                                  *        Decision by Stipulation; Damages;
                                                    *        Influenza (“Flu”) Vaccine
                                                    *
SECRETARY OF HEALTH AND                             *
HUMAN SERVICES,                                     *
                                                    *
                        Respondent.                 *
                                                    *
*****************************
Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Darryl R. Wishard, U.S. Dep’t of Justice, Washington, DC, for Respondent

                               DECISION AWARDING DAMAGES 1

        On July 26, 2018, Petitioner Richard Leandro filed a petition seeking compensation under
the National Vaccine Injury Compensation Program. 2 Petitioner alleges that he suffered chronic


1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision
on the United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (Dec. 17, 2002) (current version at 44 U.S.C. § 3501
(2014)). As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted
decision’s inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b),
each party has 14 days within which to request redaction “of any information furnished by that party: (1)
that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
(Id.)


2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3758, codified as amended, 42 U.S.C.A. ' 300aa-
10 to ' 300aa-34 (2012).
           Case 1:18-vv-01097-UNJ Document 33 Filed 10/11/19 Page 2 of 8



urticaria with dermatographism and asthma, and related complications, as a result of receiving the
influenza (“flu”) vaccine.


       Respondent denies that Petitioner’s medical problems were caused by the receipt of the flu
vaccine. Nonetheless both parties, while maintaining their above-stated positions, agreed in a
stipulation filed August 21, 2019, that the issues before them can be settled and that a decision
should be entered awarding Petitioner compensation.


       I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.


       The stipulation awards:


              A lump sum of $57,500.00, in the form of a check payable to Petitioner. This amount
              represents compensation for all damages that would be available under 42 U.S.C. §
              300aa-15(a).


Stipulation ¶ 8.


       I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 3

       IT IS SO ORDERED.

                                                           /s/ Brian H. Corcoran
                                                              Brian H. Corcoran
                                                              Special Master

3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.

                                                  2
            Case 1:18-vv-01097-UNJ Document 33
                                            26 Filed 10/11/19
                                                     08/21/19 Page 3
                                                                   1 of 8
                                                                        6



             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS
___________________________________
                                      )
RICHARD LEANDRO,                      )
                                      )
               Petitioner,            )    No. 18-1097V      ECF
                                      )
            v.                        )    Special Master Corcoran
                                      )
SECRETARY OF HEALTH                   )
AND HUMAN SERVICES,                   )
                                      )
              Respondent.             )
___________________________________ )

                                          STIPULATION

       The parties hereby stipulate to the following matters:

       1.    Petitioner, Richard Leandro, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to 34 (the “Vaccine

Program”).     The petition seeks compensation for injuries allegedly related to petitioner’s receipt

of the influenza (“flu”) vaccine, which is contained in the Vaccine Injury Table (the “Table”), 42

C.F.R. § 100.3(a).

       2.    On October 25, 2016, petitioner received a flu vaccine.

       3.    The vaccine was administered within the United States.

       4.    Petitioner alleges that, as a result of receiving the vaccine, he suffered from chronic

urticaria with dermatographism and asthma, and that he experienced symptoms of the injuries for

more than six months.

       5.    Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of his alleged injuries.


                                                   1
            Case 1:18-vv-01097-UNJ Document 33
                                            26 Filed 10/11/19
                                                     08/21/19 Page 4
                                                                   2 of 8
                                                                        6



       6.    Respondent denies that the vaccine either caused or significantly aggravated

petitioner’s alleged injury or any other injury, and denies that petitioner’s current disabilities are

the result of a vaccine-related injury.

       7.    Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.    As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

                A lump sum of $57,500.00, in the form of a check payable to petitioner. This
                amount represents compensation for all damages that would be available under 42
                U.S.C. § 300aa-15(a).

       9.    As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. Section 300aa-21(a)(1), and an application, the parties will submit to further

proceedings before the special master to award reasonable attorneys’ fees and costs incurred in

proceeding upon this petition.

       10.    Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.


                                                   2
          Case 1:18-vv-01097-UNJ Document 33
                                          26 Filed 10/11/19
                                                   08/21/19 Page 5
                                                                 3 of 8
                                                                      6



§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

       11.   Payment made pursuant to paragraph 8 of this Stipulation, and any amounts

awarded pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C.

§ 300aa-15(i), subject to the availability of sufficient statutory funds.

       12.   The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-15(g) and (h).

       13.   In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the vaccine administered on October 25, 2016, as alleged by

petitioner in a petition for vaccine compensation filed on or about July 26, 2018, in the United

States Court of Federal Claims as petition No. 18-1097V.

       14.   If petitioner should die prior to entry of judgment, this agreement shall be voidable


                                                  3
          Case 1:18-vv-01097-UNJ Document 33
                                          26 Filed 10/11/19
                                                   08/21/19 Page 6
                                                                 4 of 8
                                                                      6



upon proper notice to the Court on behalf of either or both of the parties.

       15.   If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16.   This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above.     There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that petitioner sustained a Table injury, or that the

vaccine either caused or significantly aggravated petitioner’s alleged injury or any other injury.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




                                                  4
Case 1:18-vv-01097-UNJ Document 33
                                26 Filed 10/11/19
                                         08/21/19 Page 7
                                                       5 of 8
                                                            6
Case 1:18-vv-01097-UNJ Document 33
                                26 Filed 10/11/19
                                         08/21/19 Page 8
                                                       6 of 8
                                                            6
